Case 2:04-cr-20408-SHI\/| Document 34 Filed 05/11/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

Page|D 42
"1 ir

.r-'n.Eo s.-z f` il _ no

135 t’z!i`f lf PH 2= 56

 

 

WESTERN DIVISION

\-';?OE§':?*".`!' 532 ‘__:" " '
L.-i,l.;¢i:\, L..-.:.J. `
W..o. of nat -- '

UNITED STATES OF AMERICA, - ` d

VS' NO. 04-20408-Ma

MARTlN RHEA,

Defendanl.

 

ORDER RESETTING SENTENCING DATE

 

Bet`ore the court is the defendant’s May 9, 2005 motion to continue the Sentencing

hearing For good cause Shown, the motion is granted The sentencing of defendant Martin Rhea

is reset to Tuesday, June 14, 2005 at 1:30 p.m.

h is so oRDERED this " vtmy ofMay, 2005.

<!4%/"@-»

 

SAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGE

Thls documententered on me ziooi<et mee/corn lén
with nure 55 andior 32(b) FF\CrP on /

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20408 Was distributed by faX, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

